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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK

                                                 Crim. Action No. 1:20-cr-00188
UNITED STATES OF AMERICA

v.

HAMID AKHAVAN and RUBEN WEIGAND



     REPLY BRIEF IN SUPPORT OF JOINT MOTION OF NON-PARTIES BANK OF
     AMERICA, N.A., MICHAEL FARRELL, AND ROSEMARY STACK TO QUASH
          DEFENDANT HAMID AKHAVAN’S TRIAL SUBPOENAS AND IN
            THE ALTERNATIVE TO ALLOW TESTIMONY BY VIDEO
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                                PRELIMINARY STATEMENT

       Defendant’s Opposition to Motion to Quash Subpoenas Issued to Rosemary Stack and

Michael Farrell (Dkt. No. 206) (“Opposition” or “Opp.”) largely fails to address the arguments

laid out in the memorandum of law in support of the motion to quash (“Mem.”) filed by non-

parties Bank of America, N.A. (“Bank of America” or “the Bank”), Michael Farrell, and

Rosemary Stack (Dkt. No. 198). Defendant does not dispute that traveling to New York City

during a global pandemic is burdensome or that Mr. Farrell’s testimony would be duplicative of

other testimony and documents. And Defendant cannot specifically identify any testimony from

Ms. Stack that is not duplicative of testimony from Rich Clow, the Bank of America employee

whom the Bank has already offered for live, in-person testimony. Indeed, Defendant contends

that—at most—Mr. Farrell and Ms. Stack “may be necessary witnesses” and admits that he

“does not know if it will be necessary to call” either of them. Opp. 2 (emphasis added).

       Accordingly, the Opposition makes clear that Defendant cannot meet his burden of

showing “that the testimony sought is both relevant and material.” Stern v. U.S. Dist. Ct. for

Dist. of Mass., 214 F.3d 4, 17 (1st Cir. 2000). For that reason, and the reasons laid out in the

opening brief, this Court should quash the subpoenas directed at Mr. Farrell and Ms. Stack or, at

a minimum, allow them to testify via video.

                                          ARGUMENT

       I.       DEFENDANT FAILS TO IDENTIFY A NON-DUPLICATIVE REASON
                FOR MS. STACK’S TESTIMONY

       Defendant’s Opposition fails to establish that his subpoena to Ms. Stack is relevant and

material to his defense and therefore should be quashed. Indeed, Defendant concedes his

inability, prior to Mr. Clow’s testimony, to identify specific, non-duplicative testimony that Ms.

Stack would provide, admitting that the defense “may have no reason to call Ms. Stack” if Mr.
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Clow “testifies consistently with what Ms. Stack told the government.” Opp. 4. Defendant

merely points to differences between Mr. Clow’s and Ms. Stack’s job responsibilities. See Opp.

1-2. This falls far short of Defendant’s burden to show that the testimony sought is—as opposed

to may be—both relevant and material. See Stern, 214 F.3d at 17.

       And apart from being speculative, the idea that Mr. Clow’s testimony may be

inconsistent with prior testimony Ms. Stack gave to the government during her interview, see

Opp. 2-4, is wrong. Indeed, Ms. Stack’s interview, the documents produced to Defendant by the

Bank, and Mr. Clow’s likely testimony all tell one story: Bank personnel worked diligently to

execute the Bank’s procedures for reviewing transactions to flag and address marijuana

transactions. When the government and the Defendant issued trial subpoenas to Bank of

America, a nonparty, for testimony on its topics of interest, the Bank made available a local

witness, Mr. Clow, who could travel to trial and testify as a witness for both Defendant and the

government. The Bank also produced to Defendant and the government hundreds of pages of

documents speaking to the Bank’s policies and procedures for the monitoring, review, and

escalation of potential marijuana purchases, as well as examples of these procedures in practice,

about which Mr. Clow is capable of testifying. The Bank has more than cooperated with

Defendant throughout this process and should not be required to make available another witness

on the possibility that her testimony will be needed—especially when that witness will need to

travel and quarantine due to the pandemic. Such testimony would be duplicative—and if not

duplicative, then clearly irrelevant or easily procured from another source.1



1
  Perhaps recognizing that his theory of relevance and materiality is insufficient, Defendant
contends—for the first time, despite several conversations with counsel for Ms. Stack regarding
the need for her testimony, including one with this Court’s Chambers—that Ms. Stack’s
testimony is necessary because she is “on emails regarding Bank of America’s marijuana
transaction monitoring program that the defense seeks to introduce, which Mr. Clow is not on.”
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       II.     DEFENDANT FAILS TO IDENTIFY A NON-DUPLICATIVE REASON
               FOR MR. FARRELL’S TESTIMONY

       Defendant’s proffered justification for Mr. Farrell’s testimony is even more flimsy.

When counsel for Defendant initially sought Mr. Farrell’s testimony, they stated that it was

needed to authenticate emails that counsel for Defendant believed would not be self-

authenticating business records. Now, counsel for Defendant contend that Mr. Farrell’s

testimony is needed to discuss his statements in one email chain in particular that neither Ms.

Stack nor Mr. Clow is on.2 See Opp. 4-5. But Defendant fails to “show that the testimony

sought is both relevant and material.” Stern, 214 F.3d at 17.

       Indeed, the email chain in question is irrelevant and immaterial to the defense. Like the

other documents Defendant wishes to introduce, it is an example of Bank of America employees

doing their jobs to ensure that marijuana transactions are identified and properly addressed.

Rather than explain how such statements are helpful to the defense’s argument, which hinges on

a contention that Bank of America “do[es] not care about whether their cardholders are

purchasing marijuana,” Dkt. No. 177 at 10, Defendant implores the Court merely to trust him

that testimony about the statements will be relevant. Movants do not quarrel with Defendant’s



Opp. 3. These are a portion of the emails that Mr. Farrell is on; as discussed infra, they are
irrelevant and duplicative of the assortment of documents that will be admitted at trial that
demonstrate the same facts about the Bank’s monitoring.
2
  In each of the three email chains involving Mr. Farrell, the most recent message in the chain
(i.e., the “top” message) was sent to him. The opening brief thus properly noted that Mr. Farrell
was a recipient of all three emails. See Mem. 8. Defendant contends that characterizing Mr.
Farrell as a recipient was “false” because one of the chains contains earlier email messages that
he himself wrote. Opp. 6. The statement in the opening brief was entirely accurate—it
concerned the three email chains, each of which Mr. Farrell received, and not the individual
messages that make up each chain. Regardless, Defendant’s charge is a distraction. The
subpoena should be quashed, not because others were involved in the bulk of the
communications reflected in the emails, but because the statements in the email chains, whether
authored by Mr. Farrell or others, are irrelevant and duplicative.

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assertion that he is “best positioned to determine what will be helpful for his defense,” Opp. 6,

but this does not absolve him of his burden to show the relevance of the evidence he has

subpoenaed. Defendant has failed to do so.

       Moreover, all three email chains are duplicated by the wealth of documents already

produced by the Bank that will be admissible based on Mr. Clow’s declaration and that also

speak to the Bank’s active interest in and steps towards monitoring against marijuana

transactions. Mr. Clow will also testify to the very same efforts undertaken by the Bank.

Defendant should not be permitted to call an additional witness into court to reiterate what will

be plain from the record: Bank of America carefully monitors transactions and takes reasonable

steps to prevent marijuana purchases using its cards.

       III.    DEFENDANT DOES NOT DISPUTE THE BURDEN OF TRAVELING TO
               NEW YORK CITY ON SHORT NOTICE DURING A PANDEMIC

       Defendant does not dispute that giving two nonparty witnesses less than a week to travel

to New York City across multiple state lines during a global pandemic is burdensome.3 See Opp.

2. Instead, Defendant merely contends that “all non-local witnesses will have this same burden

at any trial that takes place during the pandemic.” Id. But the fact that all non-local witnesses

are burdened does not minimize the burden to these witnesses. To avoid such a burden, the Bank

has identified a local witness, Mr. Clow, who can testify on the Defendant’s identified topics.

And the burden on these additional non-local witnesses is exacerbated by the lack of time

provided to Mr. Farrell and Ms. Stack to comply with the necessary COVID-19 protocols.

       Defendant’s fallback argument is that the subpoenas are “not ‘unduly burdensome or

3
  New York City, in particular, has suffered greatly from this deadly pandemic, and continues to
do so, making traveling to the City from out of state particularly onerous and dangerous. See,
e.g., Maggie Fox, Researchers Find Worrying New Coronavirus Variant in New York City, CNN
(Feb. 25, 2021), https://www.cnn.com/2021/02/25/health/variants-coronavirus-new-york-
city/index.html.

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oppressive’” given “the possibility of remote testimony.” Opp. 4. But Mr. Farrell and Ms. Stack

were subpoenaed to appear in person—not to testify remotely. Further, Defendant’s statement

that he will “endeavor to make an expeditious decision on whether testimony by Ms. Stack or

Mr. Farrell might still be necessary as soon as possible after Mr. Clow completes his testimony,”

Opp. 4 n.4, is hardly helpful given the significant complications associated with planning travel

and navigating COVID protocols. Witnesses cannot drop everything, board a flight, and appear

in court on short notice during a pandemic.

       At the very least, if the subpoenas are not quashed and the Court determines that Mr.

Farrell and/or Ms. Stack’s testimony is in fact necessary, Mr. Farrell and Ms. Stack respectfully

request that the Court modify the subpoenas to allow remote video testimony. Defendant does

not oppose such a modification, see Opp. 4 n.3, and the Court has already approved of another

third-party witness testifying in this manner. See Minute Entry (Feb. 19, 2021). Given the

uncertainty of Defendant’s need for Mr. Farrell or Ms. Stack’s testimony, the ongoing COVID-

19 pandemic, and the lack of relevance or materiality to any potential testimony from these

witnesses, remote video testimony would more than suffice, as opposed to forcing Mr. Farrell

and Ms. Stack to travel to New York City on the off-chance that Defendant decides he actually

needs their testimony.




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                                        CONCLUSION

       For the foregoing reasons as well as the reasons stated in the opening brief, Defendant’s

Subpoenas to Mr. Farrell and Ms. Stack should be quashed or, in the alternative, modified to

allow for video testimony.



Dated: February 28, 2021                    Respectfully submitted,

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